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  8                        UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
  9                              WESTERN DIVISION
 10
      CHRISTINA CANTU,                       ]       CASE NO. CV-21-09401-GJS
 11                                          )
            Plaintiff,                       )       [PROPOSED] ORDER
 12                                          )       AWARDING ATTORNEY’S
                v.                           )       FEES AND COSTS PURSUANT
 13                                          )       TO THE EQUAL ACCESS TO
                                             )       JUSTICE ACT, 28 U.S.C.
 14   KILOLO KIJAKAZI, Acting                )       § 2412(d) AND FOR COURT
      Commissioner of Social Security,       )       COSTS PURSUANT TO 28
 15                                          )       U.S.C. § 1920
                                             )
 16        Defendant.                        )
                                             )
 17
 18       Based upon the parties’ Stipulation for Award of EAJA Fees (“Stipulation”),
 19   IT IS ORDERED that Plaintiff is awarded attorney fees under the Equal Access to
 20   Justice Act in the amount of FIVE-THOUSAND DOLLARS and NO CENTS
 21   ($5,000.00), as authorized by 28 U.S.C. § 2412(d), and Court costs in the amount
 22   of FOUR-HUNDRED TWO DOLLARS and NO CENTS ($402.00), pursuant to
 23   28 U.S.C. § 1920, subject to the terms of the Stipulation.
 24   Dated: June 24, 2022
 25                             __________________________________________
                                UNITED STATES MAGISTRATE JUDGE
 26                             GAIL J. STANDISH
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